                     Case 1:25-cv-00903-ABJ                  Document 6         Filed 04/01/25        Page 1 of 4

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                    IRUWKH
                                                           District of Columbia
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        CENTER FOR BIOLOGICAL DIVERSITY


                            3ODLQWLII V
                                 Y                                           &LYLO$FWLRQ1R 1:25-cv-00903-ABJ
U.S. FISH AND WILDLIFE SERVICE; PAUL SOUZA,
Acting Director of the U.S. Fish and Wildlife Service;
   and DOUG BURGUM, Secretary of the Interior

                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Pam Bondi, Attorney General
                                          U.S. Department of Justice
                                          950 Pennsylvania Ave NW
                                          Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Camila Cossío
                                          Center for Biological Diversity
                                          P.O. Box 11374
                                          Portland, OR 97211



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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                                                                                       /s/ Dwight Patterson
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                      Case 1:25-cv-00903-ABJ                   Document 6        Filed 04/01/25             Page 2 of 4

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                     Case 1:25-cv-00903-ABJ                  Document 6         Filed 04/01/25           Page 3 of 4

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                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV U.S. Attorney c/o Civil Process Clerk
                                          United States Attorney's Office
                                          601 D Street, NW
                                          Washington, DC 20579




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

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                      Case 1:25-cv-00903-ABJ                   Document 6        Filed 04/01/25             Page 4 of 4

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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
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           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
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